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                       In the United States District Court
                       For the Southern District of Texas
                               Houston Division

 Frederic N. Eshelman;

                                  Plaintiff,

        v.                                     Civil Case No. 4:20-cv-04034

 True the Vote, Inc., et al.;                  JUDGE CHARLES ESKRIDGE, III

                                Defendants.




      Defendant James Bopp, Jr. and The Bopp Law Firm, PC
     Consolidated Response in Opposition to Plaintiff’s Verified
    Emergency Application for Temporary Restraining Order and
            Verified Motion for Preliminary Injunction




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                                       Introduction

       Plaintiff Frederic N. Eshelman has not shown that he is substantially likely to

prevail on the merits, since he has not made a clear showing that his gifts were

conditional or that he claimed, and the parties agreed, that he had a right to reverter if the

conditions were not fulfilled. As a result, James Bopp, Jr. and The Bopp Law Firm, PC

(collectively, “Bopp”) respectfully request this Court deny both the motion for the

temporary restraining order and for preliminary injunction.

                          Nature and Stage of Proceeding

       Eshelman filed his Plaintiff’s Verified Emergency Application for Temporary

Restraining Order as to All Defendants and Verified Motion for Preliminary Injunction as

to Catherine Engelbrecht, Gregg Phillips, OPSEC Group, LLC, James Bopp, Jr., and the

Bopp Law Firm, PC, ECF 41-1 (“Motion”).1 The TRO request has been withdrawn as to

Bopp, and the PI request now also applies to Defendant True the Vote, Inc. (“TTV”). The

Motions ask this Court to enjoin the applicable Defendants from transferring, disbursing,

or otherwise dissipating any remaining portion of Eshelman’s $2.5 million gift to TTV.

As both motions raise nearly identical issues, Bopp provides this Consolidated Response

in Opposition.




       1
           Eshelman’s unredacted Motion was filed under seal at ECF 40.

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                                            Facts

A.     Eshelman Made Unconditional Gifts to TTV.

       TTV is a 501(c) organization that began in 2009—its mission is to promote the

integrity of our elections. Engelbrecht Ex. 2 at 1. In October, as part of its substantial

2020 election integrity efforts throughout the Nation, Declaration of Catherine

Engelbrecht ¶¶ 5-9, TTV created an “Election Integrity Hotline” to enable reporting of

voting irregularities and fraud. Engelbrecht Decl. ¶ 5; Engelbrecht Ex. 2 at 2-6.

       Immediately after the 2020 general election and prior to contacting TTV,

Eshelman decided to support efforts to investigate allegations of fraud. Verified Amended

Complaint ECF 20, ¶ 11. In particular, Eshelman wanted to establish a “reward program”

to encourage people to report fraud, Engelbrecht Ex. 2 at 7, 8,2 and “sought to identify an

organization to undertake such efforts.” Motion, 3.

       On Nov 5th, Yacoubian spoke with Engelbrecht, TTV’s President, regarding a

“major donor’s” interest in TTV. Engelbrecht Decl. ¶ 10. Shortly thereafter, Engelbrecht

spoke with Yacoubian and Crawford to discuss TTV’s current projects, in particular

TTV’s ongoing whistleblower project. Id. ¶ 11. The two then brought Eshelman on to the

call at 11:12a.m., Engelbrecht Ex. 2 at 9; after a brief discussion of TTV’s whistleblower


       2
        In response to TTV’s Expedited Discovery Requests, Eshelman provided a
Response to 168 pages of communications and documents, Eshelman 00001-00168.
Engelbrecht Ex. 1. Engelbrecht’s exhibits are largely derived from the Eshelman
production.

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project, Eshelman offered TTV a gift of $2M and asked for wiring instructions. Id. at 10,

Engelbrecht Decl. ¶ 12. The wire transfer was sent by 2:31p.m. Engelbrecht Ex. 2 at 11.

In a follow-up phone call, Crawford advised that TTV should think of the $2 million gift

in two tranches—$1 million for the whistleblower program and $1 million for general

operations. Engelbrecht Decl. ¶ 13.

       During the Nov. 5th phone conversation, there was no discussion that Eshelman’s

gift was conditional in any way or that he could claim his gift back. Furthermore, in the

numerous emails and texts between Engelbrecht, Eshelman, and his representatives, no

one ever said that the gift was “conditional in any way [or] . . . if we were not able to

accomplish our goals, he would expect to get his donation returned to him.” Id. ¶ 16.

       After the phone call, Eshelman asked Crawford for a description “of what we’re

doing” to use to raise funds from other donors. Engelbrecht Ex. 3 at 1. At Crawford’s

request, Engelbrecht drafted a one-page overview of TTV’s plans, entitled “Validate the

Vote 2020” (“VTV”) and sent it at 4:59p.m., Engelbrecht Ex. 3 at 3-5. Most of the one-

pager was derived from a litigation plan Bopp prepared and sent to Engelbrecht at

3:37p.m. that afternoon. Engelbrecht Ex. 3 at 7. Engelbrecht only added the “Plan”

section to the Bopp litigation plan and edited it. Crawford also suggested the name

“Validate the Vote 2020" in a text at 2:20p.m. Engelbrecht Ex. 3 at 2. Engelbrecht was

unaware of Bopp’s litigation plan or even the name of the project until after the Eshelman

call. Engelbrecht Decl. ¶¶ 14, 15.

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       Thus, there could not have been a detailed discussion of VTV on the November 5th

call, as Eshelman claims, as its name, existence and most of the details of it, especially

Bopp’s litigation proposal, did not exist before the phone call and were developed after it.

Am. Compl. , ¶ 13 (“On or around November 4th and November 5th, Plaintiff spoke with

Defendant Engelbrecht about Defendant True the Vote’s Validate the Vote 2020

project.”); ¶¶ 14-19 (alleging discussion of many of the details of VTV later contained in

VTV’s one-pager, including details about proposed lawsuits). Nor could there have been

a discussion of any conditions imposed on his gift related to those yet developed

activities. Id. ¶ 20. In fact, once VTV’s one-pager was received after the phone call, it

was treated as something new by Eshelman and his representatives, who then planned a

conference call “to discuss Validate the Vote,” Engelbrecht Ex. 3 at 10, which occurred

the next day. Id. at 11. The next day, TTV announced its Whistleblower Compensation

Fund, which incorporated Eshelman’s desire to establish a “reward program” to

encourage people to report fraud, which Eshelman discussed with Engelbrecht on the

November 5th call. Engelbrecht Ex. 3 at 12-14.

B.     No Allegation, nor Any Admissible Evidence, Clearly Shows an Agreed-to
       Right to Reverter.

       In the 24 pages of the Amended Complaint, the 25 pages of the Motion,

Eshelman’s numerous exhibits, or the 168 pages of written communications produced by

Eshelman, no allegation or supporting evidence exists to show any statement by Eshelman


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claiming, or the parties agreeing to, a right of reverter if the funds were not used on VTV.

And Engelbrecht affirms that no such statements, or any agreement related to them, was

ever made on November 4th, 5th, or 13th, or anytime. Engelbrecht Decl. ¶ 16, 19.

C.     TTV Carried out its Proposed Activities under VTV and Sought to Fulfill the
       VTV Goals and TTV’s Mission Statement.

       After Eshelman’s gift and after the subsequent development of VTV, TTV

engaged in substantial efforts to meet VTV’s goal “[t]o ensure the 2020 election returns

reflect one vote cast by one eligible voter and thereby protect the right to vote and the

integrity of the election,” Engelbrecht Ex. 3 at 4, which comported with TTV’s mission

statement to “[e]mpower and equip citizens to ensure that our election process is

protected from fraud and exploitation.” Engelbrecht Ex. 2 at 1. VTV included at least five

strategies aimed at seven states: solicit whistleblower testimonies; build public

momentum through broad publicity; galvanize Republican legislative support; aggregate

and analyze data to identify patterns of election subversion; and file lawsuits in federal

court(s) to gain needed voting records. Engelbrecht Ex. 3 at 4. TTV carried out

substantial activities in pursuit of all five VTV strategies. Engelbrecht Decl. ¶¶ 17, 18.

D.     Eshelman Made a Second Gift after Observing and Approving of TTV’s
       Efforts.

       After the initial gift, Eshelman and his representatives were kept aware of TTV’s

activities and approved of them, Engelbrecht Ex. 4 at 1-9, resulting in a second gift of

$500,000 on November 13th, apparently to help with the data expenses related to litigation

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support. Id. at 10. Engelbrecht and Eshelman did not speak on November 13th, but

Engelbrecht and Crawford discussed the legal efforts of Bopp that day. During that

conversation, there was no discussion that any additional gift would be conditioned in any

way or that the gift was subject to reverter if it was not spent subject to some condition.

Engelbrecht Decl. ¶ 19. This gift was apparently given as a result of Crawford’s

subsequent email to Eshelman suggesting that “we may need additional short term money

for Bopp.” Engelbrecht Ex. 4 at 10-11.

E.     TTV Refused to Pay a $1,000,000 Invoice from Old Town Digital Agency for
       Services That Were Never Performed, Which Triggered Eshelman’s Demand
       for Return of His Gifts to TTV.

       On the same day of the second gift, November 13th, Engelbrecht was shocked to

receive, see generally Engelbrecht Decl. ¶ 20, an invoice for $1,000,000 from Old Town

Digital Agency LLC (“OT”) for services rendered. Engelbrecht Ex. 5 at 2-3. TTV had no

contracts with OT, and they had performed no services for TTV. Id. Engelbrecht advised

Eshelman that day by phone and email about the invoice, Engelbrecht Ex. 5 at 4-5.

Eshelman researched OT, since he apparently knew nothing about them, but “couldn’t

find anything” except a Delaware registration. He asked Crawford about it. Id. at 5.

Crawford responded with modest information about OT, but failed to disclose his or

Yacoubian’s involvement in it, and, for the first time, made scathing comments about

Engelbrecht. Id. at 6. Crawford called Engelbrecht where he “angrily asked me why I was

calling Mr. Eshelman to question their invoice.” See generally Engelbrecht Decl. ¶ 22

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(emphasis added). A few hours later, Crawford again made more scathing comments

about Engelbrecht to Eshelman and urged Eshelman to get $1 million of his gift back and

give it to OT. Engelbrecht Ex. 5 at 7. Exasperated, id., Eshelman told Engelbrecht to pay

OT. Id. at 4. At the advice of counsel and conferring with other major donors to TTV,

Engelbrecht did not and a few days later Eshelman demanded a return of all gifts. Am.

Compl., Ex. 2.

       After Eshelman’s demand that TTV pay OT’s invoice and knowing nothing about

OT or any services they had provided, Engelbrecht emailed OT requesting information on

who they were and what services they claim to have provided. Engelbrecht Ex. 5 at 8.

Days later, Yacoubian responded for OT, cancelling the invoice, since “you have never

asked me to perform any of the services we had discussed,” id. at 10, followed up later by

a more elaborate letter. Id. at 11-13.

       OT registered on 9/17/2020 as a Delaware LLC, Engelbrecht Ex. 6 at 1-2, has a

Virginia address on its invoice, Engelbrecht Ex. 5 at 3, but is not registered to do business

in Virginia. The first two pages of results of a Google search of OT yield no results of

their existence or any activities. Engelbrecht Ex. 6 at 3-6. Crawford told Eshelman that

LoudDoor had “created” OT “to protect their private sector work from their political

activities.” Engelbrecht Ex. 5 at 6. Yacoubian is the President of LoudDoor. Engelbrecht

Ex. 6 at 7.

       Yacoubian also explained that “Old Town and I had, during the campaign, done

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some work that the donor [Eshelman] supported.” Engelbrecht Ex. 5 at 11. On

information and belief, that work was on behalf of Our American Century, a federal super

PAC, which raised $7.55 million in 2020—$7 million from Eshelman, and spent

$7,137,563—$5,500,000 by OT. Engelbrecht Ex. 6 at 9-11. Our American Century is the

subject of a Federal Election Commission Complaint by the Campaign Legal Center for

candidate contributions in excess of the contribution limits for republishing candidate

campaign advertisements and for other campaign finance violations. Id. at 12-24.

F.     TTV Has and Continues to Conduct the Activities Proposed in VTV, to Meet
       the Purposes of VTV, and to Meet TTV’s Organizational Purposes and Goals.

       TTV has and continues to fulfill VTV’s goals. See generally Engelbrecht Decl. ¶¶

17, 18, 26. Its 24/7 whistleblower hotline, its podcasts on social media, and its website

have resulted in thousands of responses. Id. TTV vets responses, and, if credible, some of

the testimonies are investigated further. Id. TTV also notifies legal authorities, policy

makers, or election integrity observers when appropriate. TTV galvanized support in key

states, primarily Michigan, Wisconsin, Pennsylvania, Georgia, Arizona, and Texas by

sharing information with public officials interested in ensuring voting integrity in the

2020 general and future elections. Id. In Connecticut, Pennsylvania, Maryland, Texas,

Alabama, and Colorado, TTV and OpSec used regression analysis to determine whether

or not voters were eligible based on residency and/or identity. Id.

       TTV also worked on the Georgia runoff as part of VTV. See generally Engelbrecht


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Decl. ¶ 24. From the beginning, Eshelman was concerned about election integrity issues

in Georgia, Engelbrecht Ex. 3 at 11, Ex. 7 at 1-3, and was aware of TTV’s VTV work in

Georgia. Id. at 5-12. TTV is currently defending in federal court the right of voters to file

challenges to the eligibility of a voter to vote in a particular election, as provided for by

Georgia law. Engelbrecht Decl. ¶ 24; Engelbrecht Ex. 7 at 13-15. Eshelman now claims

that his “conditional” gifts did not include “support of other efforts, such as recounts or

the Georgia Senate runoff election.” Am. Compl. ¶ 21. However, Eshelman never told

TTV that one of the “conditions” of his gifts was that the funds could not be used for

election integrity efforts in the Georgia Senate runoff election. Engelbrecht Decl. ¶ 25.

           Issues Requiring Resolution with Standard of Review
       The issues before this Court are whether to grant Eshelman a temporary restraining

order or a preliminary injunction. To be entitled to either form of relief, a plaintiff must

show: (1) a substantial likelihood that it will prevail on the merits, (2) a substantial threat

that it will suffer irreparable injury if the injunction is not granted, (3) its threatened

injury outweighs the threatened harm to the party to be enjoined, and (4) granting the

preliminary injunction will not disserve the public interest. City of El Cenizo, Texas v.

Texas, 890 F.3d 164, 176 (5th Cir. 2018). A preliminary injunction is never awarded as of

right and is “an extraordinary and drastic remedy which should not be granted unless the

movant clearly carries the burden of persuasion.” Canal Auth. of State of Fla. v.

Callaway, 489 F.2d 567, 573 (5th Cir. 1974).

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                                Summary of Argument
       Eshelman’s motions should be denied because he has not shown that he has a

substantial likelihood of success on the merits. All of his claims require a clear showing

of both a conditional gift and an agreed-to right of reverter. Eshelman admits that he gave

TTV gifts, but the facts demonstrate that, based on Texas law, Eshelman has not clearly

shown that his gifts were conditional. Furthermore, he does not even allege, much less

present facts clearly showing, that the parties agreed that he had a right to reverter if his

“conditions” were not fulfilled. On either of these grounds, the motions should be denied.

                                        Argument
       Eshelman is not substantially likely to succeed on the merits. “To show a

likelihood of success, the plaintiff must present a prima facie case.” Daniels Health Scis.,

L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013). However, in

evaluating whether a plaintiff has established a prima facie case, the courts must consider

not solely the admissible offered by the plaintiff, but also any evidence offered by the

defendant. See Salazar v. San Juan Cty. Det. Ctr., No. CV 15-0417 JB/LF, 2016 WL

335447, *2 (D.N.M. Jan. 15, 2016).

A.     Eshelman’s Claims Fail Because There Was No “Conditional” Gifts of Any
       Kind or an Agreed-to Right to Reverter.

       All of Eshelman’s claims seek the “return of more that $2.5 million in conditional

gifts he gave to Defendant True the Vote, Inc.” Am. Compl. ¶ 8. The alleged “condition”


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was that Eshelman “agreed to give an initial gift of $2 million to True the Vote on the

condition that the funds would be used to fund the initial stages of the Validate the Vote

project.” Id. ¶ 20 (emphasis in original). No matter how one characterizes it, conditional

gifts are the basis for all his claims:

       Count I, Breach of Contract, requires, under Eshelman’s theory, “a gift in

exchange for TTV’s commitment to undertake specific efforts” regarding VTV, Am.

Compl. ¶ 68, which TTV failed to do. Id. ¶ 71. This is a “conditional gift,” as Eshelman

described it based on his theories. Id. ¶ 72.

       Count II, Conversion, requires, under Eshelman’s theory, “his intent to revoke a

conditional gift for failure to satisfy a condition of the gift,” Id. ¶ 77.

       Count III, Declaratory Judgment, requires, under Eshelman’s theory, “a valid

revocation of a conditional gift,” Id. ¶ 88.

       Count IV, Fraudulent Representation, requires, under Eshelman’s theory,

“Plaintiff’s conditional gift,” Id. ¶ 93.

       Count V, Negligent Misrepresentation, requires, under Eshelman’s theory,

“Plaintiff’s conditional gift,” Id. ¶ 96.

       Count VI, Money Had and Received, requires, under Eshelman’s theory, money

given to Defendants “as conditioned by Plaintiffs,” Id. ¶ 97.

       One of the two decisive issues is whether Eshelman clearly shows that he gave

TTV a “conditional gift.” The other is whether Eshelman clearly shows, or even alleges,

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that TTV agreed to a right to reverter, if his “conditions” were not met.

       A “conditional” gift can come in two forms. One—conditions to the effective

delivery of the gift where full control of the funds is not transferred from the donor to the

donee until those conditions are met. Thus, no gift is actually made. The second type of

conditional gift is where the gift has been delivered, but it is clearly shown that there were

conditions by the donor on the spending of the gift and an agreed-to right to reverter, if

any conditions were not met. Eshelman cites cases for the former but actually argues the

latter. He never actually says that the gifts were not made, just that the funds were not

spent in the manner he claims he clearly intended. Id. ¶¶ 14-22. Eshelman’s case collapses

because he does not show that he made either form of “conditional gift,” or that he

established an agreed-to right of reverter.

       1.     Eshelman Made No Conditions to the Effective Delivery of the
              Eshelman Gifts, and Full Control of the Funds Were Transferred from
              Eshelman to TTV.

       Eshelman cites two Texas cases for authority for the proposition that a gift is only

effectively made when there is: (1) a clear intent by the donor to make the gift; and (2) an

immediate and unconditional transfer of the property, such that title passes

contemporaneously from the donor to the recipient. Motion, 14 (citing Oadra v. Stegall,

871 S.W.2d 882, 891-92 (Tex. App. 1994); Yates v. Blake, 491 S.W.2d 751, 754 (Tex.

Civ. App. 1973)).

       The Oadra and Yates Courts analyzed whether a gift had actually been effectively

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delivered and whether control of the property was divested from one party and transferred

to another—not whether the failure to meet a condition for the spending of the funds once

delivered could justify reversion, as Eshelman argues. Both cases held that no gift is made

unless a donor actually intends for a gift to be fully given over to the donee, and the gift is

fully delivered and accepted by the donee. Oadra, 871 S.W.2d at 893 (finding no gift if

donor maintained control over funds, since “[r]etention of control is the antithesis of a

gift.”); Yates, 491 S.W.2d at 753 (holding no gift of two CDs, because grantor retained

ownership and full powers over CDs, even though recipient had physical possession of

them).

         Eshelman’s own pleadings do not support an application of either Oadra or Yates

here. Eshelman knew that TTV is a charitable organization which accepts gifts, Am.

Compl. ¶ 2, and admits he made wire transfers to TTV’s account. Id. ¶¶ 22, 23. As a

result, Eshelman completely divested himself of any claim of ownership of the funds once

he made the transfers to an account wholly owned and controlled by TTV. Eshelman’s

gifts were effectively delivered when control of the funds were transferred from

Eshelman to TTV—Eshelman made no additional “conditions” on the delivery and

receipt of the gifts.

         2.    Eshelman Makes No Clear Showing of Conditions on the Spending of
               Eshelman’s Gifts or an Agreed-to Right to Reverter.

         Eshelman’s claims also fail because he has not clearly shown that he imposed


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“conditions” on the spending of the gifts or had an agreed-to right to reverter. No Texas

cases exist on this form of conditional gift. However, under other sources of authority and

case law outside of Texas, Eshelman cannot establish that he made a conditional gift to

TTV, or that he has an agreed-to right to reverter.

       In order to show that a gift to a charity was made conditionally and to enforce its

return, the donor must make a clear showing of both: (1) the conditions placed on the gift,

and (2) an agreed-to right to reverter, if the charity fails to meet the specified conditions.

15 Am. Jur. 2d Charities § 139. A conditional gift is enforceable according to the terms of

the document or documents that created the gift. 15 Am. Jur. 2d Charities § 137. Neither

conditions nor the right to reverter may be implied unless the intendment is clear.

Ringgold v. Queen Anne’s Cty. Ass’n for Handicapped Citizens, Inc., 318 Md. 47, 52

(1989).

       While courts might enforce oral conditions and an agreed-to right to reverter based

on oral testimony, Bopp has found no authority showing that conditions, or a right to

reverter, may be enforced based exclusively on oral testimony. See, e.g., Adler v. Save,

432 N.J. Super. 101,111 (App. Div. 2013) (using charity’s email solicitations and

acknowledgments, check stub memo lines, and other written evidence, along with oral

testimony, to determine the donor’s intent).




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              a.      Eshelman Has Not Clearly Shown Conditions on the Spending of
                      Eshelman’s Gift.

        Eshelman must clearly show that there were conditions on the spending of his gift.

However, Eshelman fails to even allege he clearly communicated conditions to TTV and

the facts do not support his allegations.

                      i.     Eshelman Fails to Allege That He Imposed Conditions on
                             TTV’s Spending of His Gifts.

        Eshelman consistently alleges that his purported conditions arise from his

“reliance” on TTV’s “representations.” For instance, Eshelman claims that “[i]n reliance

on Defendant’s representations regarding Defendants’ comprehensive plans . . .

[regarding] their [VTV] efforts, Plaintiff agreed to give an initial gift of $2 million to

True the Vote on the condition that the funds would be used to fund the initial stages of

[VTV].” Am. Comp. ¶ 20 (emphasis in original). Eshelman repeatedly alleges that this

“condition” arises “in reliance on Defendant Engelbrecht’s representations.” Id. ¶¶ 22, 26,

27.

        A condition on a gift does not arise based on “reliance” by the donor on what the

donee says they are doing or going to do. The condition needs to be expressly

communicated to the donee. This is implicit from the general law of gifts which provides

that “monies donated to a charitable entity are said to be impressed with a charitable trust

for the benefit of the public, meaning the funds have to be used for the organization’s

stated purposes and any other restrictions.” Darren B. Moore, Megan C. Sanders, Giving

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With Strings Attached: An Examination of Key Issues for Consideration, 1, State Bar of

Texas 12th Annual Governance of Nonprofit Organizations (2014), attached as

Appendix, (citing Blocker v. State, 718 S.W.2d 409, 415 (Tex. App. 1986)). So without

clearly shown conditions on spending the funds, the charity can use the funds for its

general purposes.

       Since a conditional gift is an exception to the general rule that a gift can be used by

the charity for its stated purposes, then the donor’s imposition of conditions on his gift

must be expressly communicated to the donee, almost always in writing or with written

evidence of it. “Conditional” gifts cannot arise only from a donor’s state of mind—as

Eshelman contends here—otherwise, every dissatisfied donor, who had received any

explanation of the charity’s activities and plans, could enforce the “conditions” that arose

in his mind. Eshelman’s state of mind of “relying” on TTV’s “representations” is not

enough to clearly show his “conditions,” but that state of mind is all he alleges.

       Engelbrecht explains how it works in the charitable world and at TTV:

       [TTV] operates entirely and exclusively on the contributions of its donors.
       Before a donor contributes, I often discuss with them the current and
       proposed activities and projects of TTV. If a donor had wanted to impose
       conditions on a gift, I always expected that the donor would make that
       explicit and I would have to agree to the conditions attached to the
       prospective gift.

Engelbrecht Decl. ¶ 3.




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                     ii.    The Facts Do Not Clearly Show That Eshelman Imposed
                            Any Conditions on the Spending of His Gifts.

       TTV asked Eshelman for the facts which demonstrate that he “communicated the

conditions upon his gifts,” and he responded, “during phone conversation with Defendant

Engelbrecht . . . on November 4, 5, and 13, 2020,” which he also claimed were

affirmatively acknowledged by Engelbrecht in a letter on November 22nd. Engelbrecht

Ex. 1 at 7 (citing Am. Compl., Ex. 5).

       November 4, 2020 Phone Call

       There was no phone call between Engelbrecht and Eshelman on November 4th.

Their first communication of any kind was a phone call on November 5th. See Facts at A.

       November 5, 2020 Phone Call

       Engelbrecht swears that there was no discussion, on the November 5th phone call,

that Eshelman’s gift was conditional in any way or that he could claim his gift back. Id.

And while Eshelman claims that the conditions arose from the November 5th call, Am.

Compl., ¶ 20—this is not credible for several reasons.

       First, there is no written record of any kind about what was said by Eshelman to

Engelbrecht on their phone call of November 5th. The other parties to the call, Crawford

and Yacoubian, Eshelman’s representatives, provide no supporting Declarations. In fact,

in the 168 pages of communications produced by Eshelman, or in the numerous written

communications that he and his representatives had with Engelbrecht, there is not even


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one single statement or reference to Eshelman’s gifts being conditioned in any way, until

Eshelman decided to demand his gift back following TTV’s refusal to pay OT’s invoice

at Eshelman’s demand. See Facts at A, D and E. It strains credulity that a donor would

contribute $2.5 million to a charity based on conditions important to him, but that those

conditions were never referred to in his or his representatives’ numerous written

communications with Engelbrecht or between Eshelman, Crawford, and Yacoubian.

       Second, the November 5th phone conversation could not have involved a detailed

discussion of VTV, beyond the whistleblower piece, since at the time of the phone call,

VTV didn’t exist and wasn’t named, no applicable project proposal had been drafted, and

Engelbrecht did not know about a central element to it—Bopp’s litigation proposal. See

generally Facts at A.

       Finally, the facts leading up to the November 5th phone call, and right after,

conclusively show that it was all about Eshelman’s desire for a “reward program” for

voter fraud reporting and TTV’s existing whistleblower project. Id.

       November 13, 2020 Phone Call

       Regarding the November 13th call, the only thing that Eshelman alleges

specifically about it is in paragraphs 26-27 of his Amended Complaint. There, Eshelman

does not actually say that he had a phone call with Engelbrecht and Engelbrecht denies

that one occurred. Facts at D. What we do know is that there was an email exchange

between Crawford and Eshelman, where Crawford told Eshelman that “we may need

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additional short term money for Bopp” and Eshelman responded “having Nan transfer

$500k today.” Engelbrecht Ex. 4 at 10-11. There was absolutely nothing said in that email

exchange that the additional gift would be “subject to the same conditions that those

funds would be used to fund [VTV],” as Eshelman alleges. Am. Compl. ¶ 26.

       November 22, 2020 Engelbrecht Letter

       Eshelman cited Engelbrecht’s letter of November 22nd as the remaining factual

support for his alleged conditions on his gifts. Am. Compl. Ex. 5. Eshelman points to a

statement letter that TTV “spent the money on the project we discussed with Mr.

Eshelman,” as proof that “Engelbrecht affirmatively acknowledged . . . [that] Plaintiff’s

gifts . . . were to be used expressly for . . . [activities] in connection with the 2020 general

election.” Engelbrecht Ex. 1 at 8. However, this factual statement does not say a thing

about the gifts being conditioned on that spending.

              b.      Eshelman Has Not Clearly Shown, or Even Alleged, an Agreed-
                      to Right to Reverter.

       Under Texas law, an obligation to return personal property donated to a charity

exists only if there is an enforceable reversionary right by virtue of an agreement between

the donor and donee. Moore at 7, 8. “This is true because a charitable contribution is, by

its nature, an irrevocable gift whereby the donor is releasing control of the property to the

charity.” Id. (citing Harmon v. Schmitz, 39 S.W.2d 587, 589 (Tex. Comm’n App.1931,

judgm’t adopted); see also Carroll v. City of Beaumont, 18 S.W.2d 813, 819–20 (Tex.


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Civ. App. 1929), writ refused (Nov. 27, 1929) (holding agreed-to reversionary interest is

necessary). The legal right to reverter may not be implied—it must be clear in the

agreement between the donor and charity. Ringgold, 318 Md. at 52 (1989).

       Eshelman never even alleges an agreed-to right to reverter, even if he had clearly

established a “conditional” gift. See generally Facts at B. He alleges that he gave gifts to

TTV on the condition, created by his “reliance” on TTV’s “representations,” that the

funds would be used for the initial stages of VTV, Am. Compl. ¶ 20, but he never even

alleges, much less clearly shows, that he claimed to TTV the right to get his gifts back, if

his conditions were not met.

       Thus, on either ground, all of his claims fail. Moreover, Eshelman has not shown

irreparable injury, that his threatened injury outweighs the threatened harm to TTV, and

that granting the preliminary injunction will not disserve the public interest. See

Defendant TTV’s Response, incorporated by reference herein.

                                        Conclusion
       Eshelman has not shown that he is substantially likely to prevail on the merits,

since he has not made a clear showing that his gifts were conditional or that he claimed,

and the parties agreed, that he had a right to reverter if the conditions were not fulfilled.

As a result, Bopp respectfully requests this Court deny both the motion for the temporary

restraining order and for preliminary injunction.



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Dated: January 21, 2021                    Respectfully Submitted,

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                            Certificate of Word Count
      I hereby certify that the foregoing document has 4,985 words, pursuant to this
Court’s rules.

                                          /s/ James Bopp, Jr.
                                          James Bopp, Jr

                             Certificate of Conference
       I hereby certify that on January 13, 2021, all counsel met and conferred via a video
conference platform. During that conference, the issues outstanding before this Court
were discussed. The results of this conference were submitted in a Joint Status Report,
ECF 42. This Court ordered this response be filed by January 21, 2021. See ECF 44. This
Court also granted Eshelman’s motion to file under seal. Id. This Court’s case manager
explained to Bopp’s counsel that any exhibits which comport with the Court’s Order
regarding Eshelman’s motion to seal (e.g., bank account numbers), may be filed under
seal, without a separate motion for leave to do so.



                                                 /s/ James Bopp, Jr.
                                                 James Bopp, Jr.




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                               Certificate of Service
      I hereby certify that on January 21, 2021, a true and correct copy of the foregoing
document and all attachments thereto have been forwarded to counsel of record via the
Court’s CM/ECF system.

                                                 /s/ James Bopp, Jr.
                                                 James Bopp, Jr.




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